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Donald A. Beshada
BESHADA FARNESE LLP
dab@beshadafarneselaw.com
108 Wanaque Ave.
Pompton Lakes, New Jersey 07442
Tel: (973) 831-9910
Fax: (973) 831- 7371


Pro Hac Admission Pending

Robert L. Epstein (RE8941)
repstein@ipcounselors.com
Jason M. Drangel (JMD 7204)
jdrangel@ipcounselors.com
Ashly E. Sands (AES 7715)
asands@ipcounselors.com

EPSTEIN DRANGEL LLP
60 East 42nd Street, Suite 2410
New York, NY 10165
Tel: 212-292-5390
Fax: 212-292-5391

Attorneys for Plaintiff


                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
                                         NEWARK



ONTEL PRODUCTS CORPORATION

                          Plaintiff,
                                                 Civil Action No.
               v.

S.C. CHANG INC.
                          Defendant.



                              COMPLAINT FOR PATENT INFRINGEMENT



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Plaintiff Ontel Products Corporation (“Ontel”), by and through its undersigned attorneys, for its

Complaint for patent infringement against Defendant S.C. Chang Inc. (“Defendant”) and alleges

as follows:

                                     NATURE OF ACTION

       1.      This is an action for patent infringement arising under the patent laws of the

United States, Title 35 U.S.C. § 101 et. seq.

                                          THE PARTIES

       2.      Plaintiff Ontel is a corporation organized and existing under the laws of the State

of New Jersey, having a place of business at 21 Law Drive, Fairfield, NJ 07004.

       3.      Plaintiff Ontel designs, develops and merchandizes products for the consumer

market, including promoting such products through infomercials on television and selling

products through retail establishments.

       4.      On information and belief, Defendant S.C. Chang Inc. is a corporation organized

and existing under the laws of the State of California, having a place of business at 1221 W State

Street, Ontario CA 91762.

       5.      On information and belief, Defendant offers for sale and sells consumer products

to customers throughout the United States and within the State of New Jersey, including within

the District of New Jersey.



                                JURISDICTION AND VENUE

       6.      This is an action for patent infringement arising under the laws of the United

States relating to patents, including Title 35 U.S.C. § 271 and 281-285.




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       7.      This Court has subject matter jurisdiction under the provisions of Title 28 U.S.C.

§ 1338 (a), and Title 28 U.S.C § 1332(a), as the matter in controversy exceeds the sum of

$75,000 exclusive of interest and costs, and is between citizens of different states.

       8.      On information and belief, this Court has personal jurisdiction over Defendant

transacts business within the State of New Jersey and within the District of New Jersey, and

offers for sale and sells products to customers within the State of New Jersey and within the

District of New Jersey; and has caused harm to Plaintiff within the District of New Jersey.

       9.      Venue is proper in this judicial district under Title 28 U.S.C. §§ 1391 (b) and (c).



                                         BACKGROUND

       10.     On April 10, 2012, United States Patent No. 8,151,577 (the “’577 Patent”) was

duly and legally issued by the United States Government to Alfio Bucceri, for Frozen Beverage

Device. A true copy of the ‘577 Patent is attached hereto as Exhibit A.

       11.     The ‘577 Patent was published January 27, 2011.

       12.     Plaintiff has had the exclusive rights in and to the ‘577 Patent throughout the

period of the Defendant’s infringing and unlawful acts as set forth herein and still has said

exclusive rights.

       13.     Plaintiff Ontel offers for sale and sells a frozen beverage container in accordance

with the claims of the ‘577 Patent under the trademark SLUSHY MAGIC (the “Patented

Product”).

       14.     On information and belief, Defendant has offered and now offers for sale and sells

a product called “Super Slush Cup” to customers in the United States and within the District of




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New Jersey (the “Infringing Product”), which is alleged to violate the rights of Plaintiff herein by

infringing the claims of the ‘577 Patent.

       15.     On information and belief, Defendant offers for sale and sells the Infringing

Product to customers in the United States and within the District of New Jersey, without

permission of Plaintiff.



                                   FIRST CAUSE OF ACTION

                      PATENT INFRINGMENT AGAINST DEFENDANT

       16.     Plaintiff repeats and re-alleges each allegation in paragraphs 1-15 of this

Complaint as if set forth in full herein.

       17.     Upon information and belief, within the six (6) years prior to the filing of this

Complaint, and continuing through the present date, Defendant has infringed the claims of the

‘577 Patent within the United States, including without limitation through the offering for sale

and sale of the Infringing Product.

       18.     Upon information and belief, Defendant has therefore infringed the ‘577 Patent

within the United States, including without limitation through the offering for sale and sale of the

Infringing Product which infringes the ‘577 Patent, and that the infringement of each of the ‘577

Patent has been willful and will continue unless rectified by this Court.

       19.     Upon information and belief, Plaintiff has been damaged by the infringing

activities of Defendant and Defendant is liable for such damages, in an amount to be determined.

       20.     The wrongful acts of Defendant have damaged and will continue to damage

Plaintiff irreparably and Plaintiff has no adequate remedy at law for those wrongs and injuries.

The damage to Plaintiff includes harm to its goodwill and reputation in the marketplace that



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money cannot compensate. In addition to its actual damages, Plaintiff is therefore entitled to a

preliminary and permanent injunction restraining and enjoining Defendant and its agents,

servants and employees, and all persons acting thereunder, in concert with, or on their behalf,

from infringing each of the ‘577 Patent, including without limitation restraining and enjoining

the importation, offering for sale and selling the Infringing Product or any other product which

infringes the ‘577 Patent.

        21.        Plaintiff has complied with the statutory requirement of placing on the packaging

of the Patented Product the following notice: “U. S. Pat. No. 8,151,577” and has given

Defendant written notice of the infringement of said patent, and Defendant has continued to

infringe thereafter.

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff Ontel Products Corporation prays for judgment against Defendant, as

follows:

1.      That the ‘577 Patent be determined enforceable for its life and duration;

2.      That Defendant has infringed the ‘577 Patent, and that such infringement has been

        willful;

3.      That an accounting be had for the damages caused Plaintiff by the patent infringing

        activities of Defendant and that such damages, including damages for lost profits, in an

        amount to be determined, which sum should be trebled pursuant to 35 U.S.C. § 284, with

        interest thereon, be awarded to Plaintiff;

4.      That Plaintiff be granted preliminary and permanent injunctive relief restraining and

        enjoining Defendant and its agents, servants and employees, and all persons acting

        thereunder, in concert with or on its behalf from infringing the ‘577 Patent, in the United



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      States, including without limitation restraining and enjoining the importation,

      manufacture, offer for sale and sale of the Infringing Product and/or any product which

      violates the ‘577 Patent;

5.    That Plaintiff be granted further injunctive relief directing Defendant to provide Plaintiff

      with the names and contact information for all entities that purchased the Infringing

      Product within the United States, and to notify each such entity that such product has

      been found to be illegal and infringing;

6.    That Plaintiff be awarded its attorneys’ fees, costs, and expenses in this action, pursuant

      to 35 U.S.C. §285;

7.    That Plaintiff be awarded prejudgment interest and post-judgment interest on all sums

      awarded to Plaintiff herein; and

8.    That Plaintiff be awarded such further necessary and proper relief as the Court may deem

      equitable and just.

                             JURY TRIAL DEMANDED

     Plaintiff Ontel Products Corporation hereby demands a trial by jury of all issues so triable.

Dated: November 7, 2014                     BESHADA FARNESE LLP



                                            By: _ _______________________
                                            Donald A. Beshada
                                            dab@beshadafarneselaw.com
                                            108 Wanaque Ave.
                                            Pompton Lakes, New Jersey 07442
                                            Telephone: (973) 831-9910
                                            Facsimile: (973) 831- 7371




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Robert L. Epstein (RE8941)
repstein@ipcounselors.com
Jason M. Drangel (JMD 7204)
jdrangel@ipcounselors.com
Ashly E. Sands (AES 7715)
asands@ipcounselors.com

EPSTEIN DRANGEL LLP
60 East 42nd Street, Suite 2410
New York, NY 10165
Tel: 212-292-5390
Fax: 212-292-5391

Attorneys for Plaintiff
Ontel Products Corporation




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                           EXHIBIT A




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                                                                                                     US008151577B2


(12) Unlted States Patent                                                      (10) Patent No.:                            US 8,151,577 B2
       Bucceri                                                                 (45) Date of Patent:                                  Apr. 10, 2012

(54)   FROZEN BEVERAGE DEVICE                                               (56)                      References Cited
(75)   Inventor:     Al?o Bucceri, Hamilton (AU)                                                US, PATENT DOCUMENTS
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       (2), (4) Date:       Sep. 27, 2010
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       PCT Pub- Date? Jlll- 2, 2009                                         Primary Examiner * Cheryl J Tyler
(65)                     Prior Publication Data                             ASSlSZLlI’lZ Examzner * Orlando E Av1les Bosques .
                                                                            (74) Attorney, Agent, orFzrm * Hudak, Shunk & Far1ne Co.
       US 2011/0020515 A1                 Jan. 27, 2011                     LPA

(30)               Foreign Application Priority Data                        (57)                           ABSTRACT
  Dec_ 24, 2007         (AU)                              2007907090        A frozen beverage device (10) has a container (20) and seal
  Sep. 19, 2008         (AU) .............................. .. 2008904877   able Cover (30) IO 901N911 a liquid (60), such as a non-alco
                                                                            holic or alcoholic beverage into an at least semi-frozen slurry
(51) Int. Cl.                                                               containing ice crystals (61). Freezing device(s) (50), Which
       F25C 1/18                     (2006.01)                              may have a range of shapes, contain refrigerant to from a thin
(52)   US. Cl. ................. .. 62/68; 62/1; 62/457.2; 62/529;          layer of ice/ice crystals on the deformable Wall(s) of the
                    62/530; 62/66; 426/524; 426/109; 426/519;               freezing device(s) (50), the ice crystals (61) being released
                           426/393; 426/515; 206/219; 366/130               therefrom due to agitation of the liquid (60) by shaking/
(58)   Field of Classi?cation Search ........... .. 62/1, 457.2,            rotation and/or squeezing on the container (20) and/or cover
                        62/529i530, 66, 68; 426/524, 109, 519,              (30).
                              426/393, 515; 206/219; 366/130
       See application ?le for complete search history.                                         29 Claims, 4 Drawing Sheets
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                                                         US 8,151,577 B2
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                 FROZEN BEVERAGE DEVICE                                      at least one freeZing device, having a closed body at least
                                                                                partially ?lled With a refrigerant material; so arranged
           BACKGROUND OF THE INVENTION                                          that:
                                                                             the refrigerant material is cooled beloW a freeZing tempera
   1. Field of the Invention                                                    ture of the liquid; and When the freeZing device is placed
   THIS INVENTION relates to a frozen beverage device;                          in the liquid, at least a portion of the liquid surrounding
 and to methods of producing froZen beverages using the                         the freeZing device Will form an at least partially froZen
 device.                                                                        layer on the exterior of the freeZing device, and Will be
    The invention is particularly suitable for, but not limited to,             displaced therefrom When the freeZing device impacts
 apparatus for making froZen beverages in semi-froZen                           one or more Walls of the container and/ or the cover or lid.
 “slurry” or “slushie” form; and to such a frozen beverage                   Preferably, the container and the cover are formed from
 device Which may be used as a toy or plaything.                           food-grade metal-, plastics- or polymer-material(s), Which
   Throughout the speci?cation, the term “slurry” shall be                 may incorporate reinforcing ?bres, if to be re-usable.
 used to include a mixture of liquid/semi-liquid, liquid/frozen              The container and the cover may be insulated and/ or be at
 and/ or semi-liquid/froZen portions of the liquid.                        least partially transparent or semi-translucent to enable the
   2. Prior Art                                                            cooling process to be observed.
   Machines to produce so-called “slurry”-type drinks, eg., of                The cover may incorporated a closable opening, operable
 Well-knoWn beverages such as “Coca-Cola”, “Pepsi Cola”                    to alloW the liquid to be introduced to the container; for the at
 and “Schweppes Lemonade” (all registered trade marks) are 20 least semi-froZen slurry to be discharged from the container;
 Well-knoWn and commonly found in take-aWay food outlets       and/or alloW the liquid and or the slurry to be consumed by a
 and convenience stores. HoWever, these machines are expen                 drinking straW or the like. In this form, the container and the
 sive to manufacture and install; and are not suitable for, eg.,           cover may be formed integrally, and the closure for the clo
 domestic use; or for the manufacture of a Wide range of                   seable opening may be formed integrally With, or be attached
 “slurry”-style beverages, including alcoholic beverages such 25 to, the cover.
 as cocktails.                                                               Preferably, Where the apparatus is to be re-used, the con
   International Patent Application PCT/AU2005/00l895                      tainer and cover are formed of metals, eg., stainless steel or
 (:Intemational Publication WO 2006/063401) (Bucceri,             aluminum; or of tough plastics- or polymer-materials, eg.,
 Al?o) discloses an apparatus for converting a liquid in a        polyethylene, polypropylene, PVC, ABS or the like, Which
 container to a semi-froZen slurry or to froZen ice particles, 30 may be reinforced With Nylon-, polypropylene- or carbon
 Where a refrigerant is contained Within a refrigerant cavity     ?bres. Where, hoWever, the apparatus is to be a disposable
 de?ned by at least tWo Walls of the container, Where ?exing/              (ie., “throw-away”) article, the container and cover can be
 deformation of at least one of the Walls agitates the liquid to           injection- or bloW-moulded of thin plastics- or polymer-ma
 assist the conversion thereof into the semi-froZen slurry or the          terial, eg., of the type used to produce beverage containers; or
 froZen ice particles.                                                35   formed from Waxed paper or cardboard or the like.
    While the apparatus disclosed in PCT/AU2005/00l895 is              Preferably, the container and/or the cover are provided With
 effective in converting the liquid in the container into a semi    sealing means to seal the junction betWeen the mouth of the
 froZen slurry or the froZen ice particles, the cost of manufac     container and the container and cover may be releasably
 ture results in a product Which is too expensive for the           connected by screW-threadable, bayonet-coupling, frictional,
 intended market; and particularly is too expensive for manu 40 or other releasable-engagement method.
 facture and sale as a disposable or “throW-aWay” item.                A strainer member, preferably of the same material as the
                                                                    container and/ or the cover, may be removably provided at the
         SUMMARY OF THE PRESENT INVENTION                           mouth of the container, to alloW the at least semi-froZen slurry
                                                                    to How into the cover, When the container is inverted, Whilst
    It is an object of the present invention to provide a simpli 45 retaining the freeZing device(s) Within the container, and
 ?ed apparatus for quickly cooling beverages (or other liquids)            before the cover is released from the container to enable
 and/or making semi-froZen “slurry” beverages, ice creams,                 consumption of the at least semi-froZen slurry.
 froZen confections, ice or the like.                                        The or each freeZing device preferably has a closed body
   It is a preferred object of the present invention to provide With at least one thin Wall, the or each thin Wall preferably
 such an apparatus Which is inexpensive to manufacture and 50 formed of a material Which is resiliently deformable (eg. can
 Which can be disposable.                                       concertina) When impacted and/or Which has at least good
   It is a further preferred object of the present invention to heat-transfer characteristics. Suitable materials for the manu
 provide such an apparatus Which can be manufactured from       facture of the freeZing device(s) includes plastics, such as loW
 food-grade materials, be hygienically cleaned and be re-used              density polyethylene, silicone, thermal polyurethane (TPU),
 many times.                                                          55   PVC, Nylon, rubber, latex, vinyl; Waxed paper, TPR; or ?ex
    It is a still further preferred object of the present invention        ible metals, eg., thin stainless steel, aluminum sheet or foils.
 to provide an apparatus Which only incorporates materials                 The plastics may be reinforced With Nylon-, polypropylene
 Which are safe for use by children, and Which can be safely               or carbon-?bres.
 and environmentally disposed of.                             Preferably, the freeZing device(s) can have an almost
   Other preferred objects of the present invention Will 60 unlimited range of shapes, including spheres, cubes, pyra
 become apparent from the folloWing description.            mids, cylinders, or irregular shapes including novelty shapes,
    In one aspect, the present invention resides in an apparatus           eg., of cartoon- or animation-characters.
 for converting a liquid into a semi-froZen or froZen “slurry”        Preferably, the closed bodies have internal capacities rang
 form, including:                                                  ing from 10 milliliters (10 ml) to 50 liters (50 L) or more; and
   a container, having a mouth, operable to receive the liquid; 65 the number of the freeZing device(s) to be placed in the
   a cover operable to sealably close the mouth of the con         container, to at least semi-freeZe the liquid in the container, is
      tainer; and                                                  preferably selected so that the total internal capacity of the
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 freezing device(s) is preferably in the range of 50 to 200%,                FIG. 8 is a perspective vieW of the cylindrical freezing
 more preferably 75 to 100%, of the volume of the liquid.                  device of FIGS. 6 and 7.
   Preferably, the maximum dimension(s) of the freezing
 device(s) is less than the minimum dimension(s) of the con                      DETAILED DESCRIPTION OF THE PREFERRED
 tainer and/or the cover.                                                                    EMBODIMENTS
    Preferably, the or each freezing device is ?lled in the range
 of 70-90% of its’ internal capacity With the refrigerant mate                Referring to the ?rst embodiment of the invention illus
 rial; and suitable refrigerant materials include salt/Water, salt/        trated in FIGS. 1 and 2, the apparatus 10 incorporates a cup
 propylene glycol/Water, propylene glycol/Water, sugar/Water               20, a cover 30 and an optional strainer 40.
                                                                             In this embodiment, the container 20, the cover 30 and the
 mixtures, soft drinks or the like. Other refrigerant mixtures,
                                                                           strainer 40 are injection-moulded from transparent or trans
 Which are safe if accidentally consumed, may be used. By
                                                                           lucent plastics-material, eg., polyethylene.
 Way of example, the refrigerant materials may include 20%                   The container 20 is in the form of a cup With a frusto
 salt/ 80% Water; 10% salt/3% propylene glycol/ 87% Water; or              conical side Wall 21 terminated by a bottom Wall 22 at one end
 30% propylene glycol/70% Water mixtures, all the percent                  and by an open mouth 23 at the other end. One or more screW
 ages being on the basis of % (W/W). The refrigerant                       threads 24 (or optional bayonet-coupling components) are
 material(s) must be capable of being cooled to a temperature,provided on the inner face of the side Wall 21, adjacent the
 eg., preferably —18° C. or loWer, Which is beloW the freezingmouth 23, to releasably receive complementary screW
 temperature of the liquid in the container and cover.        threads (or bayonet-coupling components) on the cover 30 to
    In a second aspect, the present invention resides in a 20 enable releasable engagement betWeen the container 20 and
 method of forming an at least semi-frozen slurry from a      the cover 30. A sealing surface or ring 25 may be provided
 liquid, using the apparatus as hereinbefore described, the   Within the open mouth 23 (and preferably above the screW
 method including the steps of:                               threads 24) to ensure sealed engagement betWeen the con
   cooling the refrigerant material(s) in the or each freezing             tainer 20 and the cover 30.
 device, in a cooling or freezing apparatus, to a temperature 25              The cover 30 is also of substantially frusto-conical con
 beloW the freezing temperature of the liquid;                             ?guration With a side Wall 31 terminated at one end by a top
   placing the liquid in the container and/or cover;                       Wall 32 and at the other end by a screW-threaded rim 33,
   placing the or each freezing device in the container or                 operable to engage the screW-threads 24 of the container 20.
                                                                             A strainer 40 has a peripheral rim 41 releasably located in,
      cover,
                                                                   30 and clamped to, the open mouth 23 of the container 20, by the
   closing the mouth of the container With the cover; and
                                                                      cover 30. The strainer 40 has a mesh or perforated central
   agitating the liquid in the container and/or cover to cause
      the or each freezing device to move through the liquid,
                                                                      straining panel 42 Within the peripheral rim 41, Where the
                                                                      holes or perforations 43 in the straining panel 42 are dimen
      and for a layer of the liquid to at least semi-freeze on the
                                                                      sioned to alloW the at least semi-frozen slurry to pass there
      or each freezing device and to be displaced therefrom 35 through When the apparatus 10 is invertedisee FIG. Zibut
      When the or each freezing device impacts one or more                 Will restrain the freezing devices 50, 50A Within the container
      Walls of the container or cover.                                     20.
   Preferably the liquid is agitated by shaking the container in             In this embodiment, the freezing devices 50, 50A, to be
 horizontal and/or vertical directions and/ or by rotation of the      hereinafter described in more detail, have the con?guration of
 container about its axes; Where the shaking and/or rotation is 40 a sphere and of a pyramid, respectively. As Will hereinafter be
 effected eg. for 30-120 seconds for a domestic apparatus; or          described With reference to FIG. 5, the freezing devices may
 by squeezing the deformable Wall(s) of the container.                 have a Wide range of alternative shapes, including irregular or
    In a third aspect, the present invention resides in an at least    novelty shapes, eg., of cartoon- or animation-characters.
 semi-frozen slurry or frozen beverage produced by the                    Referring to the second embodiment of the invention illus
 method hereinbefore described.                                     45 trated in FIGS. 3 and 4, the apparatus 110 has a container 120,
                                                                       manufactured from thin stainless steel sheet, With a cylindri
         BRIEF DESCRIPTION OF THE DRAWINGS                             cal side Wall 121 terminated at one end by a bottom Wall 122
                                                                       and at the other end by an open mouth 123.
   To enable the invention to be fully understood, preferred   The cover 130 is formed from transparent or translucent
 embodiments Will noW be described With reference to the 50 plastics material, eg., as hereinbefore described With a periph
 accompanying draWings in Which:                                           eral rim 133, provided With an internal sealing ring 134,
    FIGS. 1 and 2 are respective schematic perspective vieWs               arranged for sealing/frictional engagement With the portion
 of a ?rst embodiment of the apparatus, of the present inven     of the side Wall 121 of the container 120 adjacent the open
 tion, Where the freezing devices are being placed in the liquid mouth 123.
 to be frozen, and Where the liquid has been at least semi 55      The freezing device 150 has a closed body 151 of spherical
 frozen, respectively;                                                     shape, formed of a thin plastic-material (eg., polyurethane),
   FIG. 3 is a schematic side vieW of a second embodiment of               With a resiliently deformable Wall 152: and Where the internal
 the present invention, shoWing the deformation of the freez               capacity 153 is 75-90% ?lled With the refrigerant material
 ing device to alloW the release of the frozen particles there             154 comprising, eg., a 20% salt/ 80% Water (W/W) mixture.
 from;                                                                60      The refrigerant material 154 may be cooled to a tempera
   FIG. 4 is a schematic side vieW of the freezing device of               ture at or beloW —18° C. in a refrigerated freezer 190, before
 FIG. 3 in part-section;                                                   being transferred to the container 120.
   FIG. 5 is a schematic vieW of a third embodiment of the                  Alternatively, the freezer 190 may contain cryogenic mate
 present invention shoWing some of the possible alternative              rial, such as dry ice (carbon dioxide); or a pre-cooled brine
 shapes for the freezing devices;                                     65 solution at/beloW —10 degrees Celsius; or a similar freezing
   FIGS. 6 and 7 are schematic side vieWs of a fourth embodi             material for snap-freezing of the freezing devices 150 for
 ment of the present invention; and                                        quick turn around of use, eg. in a bar or stadium, Where
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 conventional refrigeration Would not be acceptable. Typi               The embodiments of FIGS. 1 and 2; 3 and 4; and 5 have
 cally, in these applications, the container 120 and cover 130        referred to relatively rigid containers 20, 120, 220. The agi
 Would be disposable. The liquid beverage 160 Would be dis            tation of the liquid can also be affected by the containers
 pensed into the container 120, the freezing device 150 added,        having ?exible Wall(s) 21, 121, 221, eg. formed of silicone,
 & the cover 130 ?tted. The container 120 Would be shaken to          polyurethane or other ?exible plastics-material, so that the
 form the slurry. The freezing device 150 can be removed (and         Walls 21, 121, 221 can be squeeZed (eg. as in the direction of
 be Washed/refroZen for reuse); or, if disposable, disposed           arroW D in FIG. 7) against the freeZing devices 50, 150, 250
 With the container 120 and cover 130, after the beverage             to form the slurries. This can avoid need to shake the contain
 slurry is consumed.                                                  ers 20, 120, 220, thereby minimiZing accidental release of the
    NB: The skilled addressee Will appreciate that, at any one        covers 30, 130, 230 as the slurries are formed.
 time, a number of the freeZing devices 150 Will be placed in           Referring noW to the fourth embodiment illustrated in
 the freeZer 190 so as to be ready for use.                           FIGS. 6 to 8, the apparatus 310 has a container 320 and cover
   As illustrated in FIGS. 3 and 4, the liquid 160 in the appa        330 substantially as hereinbefore described.
 ratus 110 Will form at least a thin layer of ice or ice crystals       The freeZing device 350 is of cylindrical shape, and the
 161 on the exterior of the body 151 of the freeZing device 150,    cylindrical side Wall 352 can “concertina”, as shoWn in FIG.
 and the thin layer of ice/ice crystals 161 Will be dislodged       7, to displace the ice crystals 361 formed (from the liquid 360)
 from the body 151 When the side Wall 152 impacts, and is           thereon, When the container 320 is shaken in the direction of
 deformed by, any of the Walls 121, 122 of the container 120;       arroW D, to cause the end Walls 353, 354 of the freeZing
 Wall 132 and/or peripheral ?ange or rim 133 of the cover 130; 20 device 350 to impact the container 320 and cover 330.
 and/ or the strainer (Which has been omitted for clarity).            In a modi?ed form of this embodiment, the container 320
    The deformation of the Wall 152 of the body 151 of the          may be provided in the shape of a soft drink container, and the
 freeZing device 150 is indicated by dashed lines in FIG. 3.        freeZing device 350 could also be made in the same shape to
    ArroWs A, B, C indicate examples of the shaking and/or          make a froZen beverage from a knoWn soft drink supplier.
 rotating motions Which may be applied to the apparatus 1 1 0 to 25    As hereinbefore described, the freeZer devices may have a
 agitate the liquid 160 Within the apparatus 110 and thereby        range of internal capacities, from 10 milliliters (10 ml) to 50
 cause the freeZing device 150 to move through the liquid 160,      liters (50 L) or larger, depending on the intended volume of
 and impact the Walls to progressively convert the liquid to at     liquid to be at least semi-froZen to a slurry or completely
 least a semi-froZen slurry.                                        froZen to ice particles.
   Referring noW to FIG. 5, the apparatus 210 of a third 30   As illustrated in FIGS. 1 and 2, one or more freeZer devices,
 embodiment has a container 220 and cover 230 of generally  of similar, different shape(s) can be used simultaneously to
 similar con?guration to the container 20 and cover 30 of the        convert the liquids to the slurries and/or ice particles.
 apparatus 10 of the ?rst embodiment.                                   The selection of the number (and thereby total internal
    It Will be noted that the side Wall 221 of the container 220     capacity) of the freeZer device(s) and/ or the refrigerant mate
 has screW-threads 224 of the type hereinbefore described; and 35 rial(s) Will be dependent on the volumes and/ or freeZing
 has either decorative or printed material applied to the exter      temperatures of the liquids. For example, a higher refrigerant
 nal face 229 of the side Wall 221; or the side Wall 221 may         material/liquid ratio is required to at least semi-freeZe alco
 incorporate integral formations Which assist in the agitation       holic beverages than Water-based beverages, as the alcohol
 of the liquid and/or dislodgement of the froZen ice/ice par         tends to act as an “anti-freeze” and so sloW the conversion of
 ticles from the freeZer device to be hereinafter described.      40 the liquids to the ice/ ice particles. For example, the total
    In this embodiment, the cover 230 has a frusto-conical side      internal capacity of the freeZer device(s) to be used With
 Wall 231 as hereinbefore described, de?ned at one end by the        alcohol-based beverages may be on a l00%:l00% ratio (v/v)
 peripheral rim 233.                                                 With the volume of the beverages; Whereas the ratio for Water
    HoWever, at the other end, the top Wall is replaced by an        based beverages may only be 75%:l00% (v/v).
 opening 232 Which is selectively closable by an integrally 45          Furthermore, the number of freeZer devices required Will
 formed hinged closure 239. The closure 239 enables the              be dependent on the initial temperature of the liquids; and it is
 opening 232 to be selectively opened to enable liquid to be         preferred that the liquids at least be reduced in temperature to,
 placed in the container 220; or the at least semi-froZen slurry     eg., 40 C., Within the refrigerator before the freeZer devices
 to be discharged from the container 220 When the container is       are added.
 inverted; or to enable the insertion of a drinking straW for the 50    Preferably, the maximum dimension of any of the freeZer
 consumption of the at least semi-froZen slurry Within the           devices Will not be equal to, or larger than, the minimum
 container 220.                                                      dimensions of the container and/ or cover; and preferably, the
    The strainer 240 has a con?guration similar to the strainer      volume of the container is at least three times the total volume
 40 of the ?rst embodiment; but an alternative strainer 240A         of the freeZer devices.
 omits the peripheral rim 241.                                    55    The shaking and/or rotation of the apparatus 10, 110, 210
    As illustrated in FIG. 5, the freeZer devices can have a Wide    may be manually, eg., for a domestic apparatus; or by
 range of shapes, including a sphere 250, pyramid 250A, cyl           machine in a semi-domestic or “commercial” application,
 inder 250B, cube 250C, segment 250D, snoWman 250E or                 eg., in a bar or cocktail lounge.
 other cartoon- or animated-character shape, or an assembly            The apparatus may be manufactured so that it is disposable
 250F incorporating a spherical shape as per the sphere 250 60 after a single use; or may be designed to be hygienically
 With a “tail” 251F Which may pass through the opening 232 to       cleaned and re-used many times.
 enable the consumer to “jiggles” the freeZing device 250F to         As not all the refrigerant material may become liquid as it
 assist in agitating the liquid in the container 220. The tail 251F absorbs the heat from the surrounding liquid, the time the
 may also pass through the strainer 240A to enable the latter to    freeZer devices require in the freeZer 190 for re-use can be
 be pulled upWardly from the bottom of the container to scrape 65 reduced.
 free any ice I ice crystals on the inner face of the side Wall 221    It Will be readily apparent to the skilled addressee that the
 of the container 220.                                              present invention provides a simple, inexpensive, yet ef?cient
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 apparatus, and method, for converting liquids, such as alco                6. The apparatus as claimed in claim 1, Wherein:
 holic and non-alcoholic beverages, into at least semi-frozen               the container and/ or the cover are provided With a sealing
 slurries or frozen confections.                                               surface or ring to seal a junction betWeen the mouth of
    In addition, the freezing devices can enable existing con                  the container and the cover; and
 tainers, eg. cocktail shakers or drink containers to produce at            the container and cover are releasably connected by screW
 least semi-frozen slurry beverages.                                           threadable, bayonet-coupling, frictional, or other releas
   Various changes and modi?cations may be made to the                         able-engagement members.
 embodiments described and illustrated Without departing                    7. The apparatus as claimed in claim 1, Wherein:
 from the present invention.                                                a strainer member, optionally of the same material as the
   The invention claimed is:
                                                                               container and/or the cover, is removably provided at the
   1. An apparatus for converting a liquid into a semi-frozen
                                                                               mouth of the container, to alloW the at least semi-frozen
 or frozen “slurry” form, including:
                                                                               slurry to How into the cover, When the container is
    a container, having a mouth, operable to receive the liquid;
   a cover operable to sealably close the mouth of the con                     inverted, Whilst retaining the at least one freezing device
      tainer; and                                                              Within the container, after the cover is released from the
   at least one freezing device, the at least one freezing device              container to enable consumption of the at least semi
      having a closed body, With at least one Wall, the at least               frozen slurry.
      one Wall being formed of a resiliently deformable mate                8. The apparatus as claimed in claim 1, Wherein:
      rial, the closed body being at least partially ?lled With a           the closed body of the or each freezing device has heat
      refrigerant material;                                          20        transfer characteristics; and suitable materials for the
   Wherein in a ?rst operational mode the refrigerant material                 manufacture of the at least one freezing device includes
      inside the at least one freezing device is cooled beloW a                plastics or ?exible metals.
      freezing temperature of the liquid; and in a second                   9. The apparatus as claimed in claim 1, Wherein:
      operational mode, after the ?rst operational mode, With               the closed body of the at least one freezing device is of
      the at least one freezing device With the refrigerant mate     25        cylindrical shape With a cylindrical side Wall that oper
      rial cooled beloW a freezing temperature of the liquid                   ates in the manner of a concertina.
      placed in the container, the liquid is added to the con               10. The apparatus as claimed in claim 1, Wherein:
      tainer before and/or after the at least one freezing device           the closed body has an internal capacity ranging from 10
      is placed in the container, Wherein at least a portion of                milliliters (10 ml) to 50 liters (50 L); and
      the liquid in contact With the at least one Wall of the at 30         the number of the at least one freezing device to be placed
      least one freezing device in the second operational mode
                                                                               in the container, to at least semi-freeze the liquid in the
      forms an at least partially frozen layer on an exterior of
                                                                               container, is selected so that the total internal capacity of
      the at least one freezing device, and in a third operational
                                                                               the at least one freezing device is in the range of 50 to
      mode, after said ?rst and second operational modes, the
      container and/or cover is agitated and the at least one 35               200%, of the volume of the liquid.
      Wall of the at least one freezing device impacts at least             11. The apparatus as claimed in claim 10, Wherein:
      one Wall of the container and/ or cover and the at least one          the maximum dimensions of each of the at least one freez
      freezing device is deformed in the at least one Wall and                 ing device are less than the minimum dimensions of the
      the at least partially frozen layer Will be displaced from               container and/ or the cover.
      the exterior of the at least one freezing device to convert 40        12. The apparatus as claimed in claim 10, Wherein:
      said liquid into said semi-frozen or frozen “slurry” form.            the closed body of the at least one freezing device is ?lled
   2. The apparatus as claimed in claim 1, Wherein:                            in the range of 70-90% of its’ internal capacity With the
   the container and the cover are formed from one or more of                  refrigerant material; and
      a food-grade metal-,                                                  the refrigerant materials include at least one of salt/Water,
   a plastic material and a polymer material, Which optionally 45              salt/propylene glycol/Water, propylene glycol/Water,
      incorporate reinforcing ?bers; and                                       sugar/Water mixtures and soft drinks.
   Wherein the container and the cover are optionally insu                  13. The apparatus as claimed in claim 12, Wherein:
      lated and/or are at least partially transparent or semi               the refrigerant materials includes 20% salt/ 80% Water;
      translucent to enable the cooling process to be observed.                10% salt/3% propylene glycol/ 87% Water; or 30% pro
   3. The apparatus as claimed in claim 1, Wherein:                  50
                                                                               pylene glycol/70% Water mixtures, all the percentages
   the cover incorporates a closeable opening, operable to                     being on the basis of % (W/W); and
      alloW the liquid to be introduced to the container; or the            the refrigerant material is capable of being cooled to a
      at least semi-frozen slurry to be discharged from the
                                                                               temperature, optionally —18° C. or loWer, Which is beloW
      container; and/ or alloW the liquid and/ or the slurry to be
      consumed by a drinking straW.                                            the freezing temperature of the liquid in the container
                                                                               and cover.
   4. The apparatus as claimed in claim 3, Wherein:
   the container and the cover are formed integrally; and a                 14. The apparatus as claimed in claim 8, Wherein said
      closure for the closable opening is formed integrally               plastic comprises polyurethane, PVC, rubber, latex, or vinyl,
      With, or attached to, the cover.                                    and Wherein said metal comprises stainless steel, aluminum
   5. The apparatus as claimed in claim 1, Wherein:           60 sheet or foil.
   Where the apparatus is to be re-used, the container and         15. A method of forming an at least semi-frozen slurry
      cover are formed of metals, and/or of tough plastic- or    from a liquid, using an apparatus including a container having
      polymer-materials, Which are optionally ?ber-rein                   a mouth to receive the liquid, a cover to operatively close the
      forced; but Where the apparatus is to be a disposable      mouth of the container, and at least one freezing device, the at
      article, the container and cover are injection- or bloW 65 least one freezing device having a closed body, at least par
      molded of plastic- or polymer-material, or formed of       tially ?lled With a refrigerant material and having at least one
      Waxed paper or cardboard.                                  Wall, the at least one Wall being formed of a material Which is
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                                                                                                          10
 resiliently deformable When impacted, the method including                     Wall operates in the manner of a concertina to release the
 the steps of:                                                                  ice crystals therefrom When the end Walls impact the
    cooling the refrigerant material in the at least one freezing               container and/ or the cover.
     device, in a cooling or freezing apparatus, to a tempera                23. The method as claimed in claim 21, Wherein:
     ture beloW a freezing temperature of the liquid;                 5      the closed body is selected to have an internal capacity
   placing the liquid in the container and/or cover;                            ranging from 10 milliliters (10 ml) to 50 liters (50 L);
   placing the at least one freezing device in the container                    and
      and/or cover,                                                          the number of the at least one freezing device placed in the
   closing the mouth of the container With the cover; and                       container, to at least semi-freeze the liquid in the con
   agitating the liquid in the container and/or cover to cause        10        tainer, is selected so that the total internal capacity of the
      the at least one freezing device to move through the                      at least one freezing device is in the range of 50 to 200%,
      liquid, and for a layer of the liquid to at least semi-freeze             of the volume of the liquid.
      on the at least one freezing device and then to be dis                 24. The method as claimed in claim 23, Wherein: the maxi
      placed therefrom When the at least one freezing device               mum dimensions of the at least one freezing device are
      impacts at least one Wall of the container or cover.            15   selected to be less than the minimum dimensions of the con
   16. The method as claimed in claim 15, Wherein:                         tainer and/ or the cover.
   the liquid is agitated by shaking the container in horizontal             25. The method as claimed in claim 23, Wherein:
      and/or vertical directions and/ or by rotation of the con              the closed body of the at least one freezing device is ?lled
      tainer about its axes; or by squeezing the at least one Wall              in the range of 70-90% of its’ internal capacity With the
      of the container and/ or cover, the at least one Wall of the 20           refrigerant material; and
      container and/or cover being resiliently deformable, in                the at least one refrigerant material is selected from one or
      to contact With the at least one freezing device; and                     more of salt/Water, salt/propylene glycol/Water, propy
   Where the shaking and/or rotation and/ or squeezing is                       lene glycol/Water, sugar/Water mixtures and soft drinks.
     effected optionally for 30-120seconds for a domestic                    26. The method as claimed in claim 25, Wherein:
      apparatus.                                                      25     the at least one refrigerant material includes 20% salt/ 80%
   17. The method as claimed in claim 15, Wherein:                              Water; 10% salt/3% propylene glycol/ 87% Water; or
   the container and the cover are formed from one or more of                   30% propylene glycol/70% Water mixtures, all the per
      a food-grade metal, a plastic material and a polymer                      centages being on the basis of % (W/W); and
      material, Which optionally incorporate reinforcing                     the at least one refrigerant material is capable of being
      ?bers;                                             30                     cooled to a temperature, optionally —18° C. or loWer,
   the container and the cover are optionally insulated and/or                  Which is beloW the freezing temperature of the liquid in
      at least partially transparent or semi-translucent to                the container and cover.
      enable the cooling process to be observed; and                    27. The method as claimed in claim 21, Wherein the resil
   optionally, the cover incorporates a closable opening, oper       iently deformable material is silicone or polyurethane.
      able to alloW the liquid to be introduced to the container; 35    28. A method of forming an at least semi-frozen slurry
      or the at least semi-frozen slurry to be discharged from       from a liquid, the method including the steps of:
      the container; and/ or alloW the liquid and or the slurry to      cooling at least one refrigerant material at least partially
      be consumed by a drinking straW.                                     ?lling a closed body of at least one freezing device, in a
   18. The method as claimed in claim 17, Wherein:                         cooling or freezing apparatus, to a temperature beloW a
   the container and the cover are formed integrally; and a 40                  freezing temperature of the liquid, the closed body hav
      closure for the closeable opening is formed integrally                    ing at least one Wall formed of a material Which is
      With, or attached to, the cover.                                          resiliently deformable When impacted:
   19. The method as claimed in claim 15, Wherein:                           placing the liquid in a container and/or cover;
   a sealing surface or ring is provided to seal a junction                  placing the at least one freezing device in the container
     betWeen the mouth of the container and the cover; and 45                   and/or cover;
   the container and cover are releasably connectable by                     closing a mouth of the container With the cover; and
      screW-threadable, bayonet-coupling, frictional, or other               agitating the liquid in the container and/ or cover to cause
      releasable-engagement members.                                            the at least one freezing device to move through the
    20. The method as claimed in claim 15, Wherein: a strainer                  liquid; and for a layer of the liquid to at least semi-freeze
 member, optionally of the same material as the container 50                    on the at least one freezing device and then to be dis
 and/ or the cover, is removably provided at the mouth of the                   placed therefrom, by deformation of the at least one
 container, to alloW the at least semi-frozen slurry to How into                Wall, When the at least one freezing device impacts at
 the cover, When the container is inverted, Whilst retaining the                least one Wall of the container and/or cover.
 at least one freezing device Within the container after the                 29. The method as claimed in claim 28, Wherein:
 cover is released from the container, to enable consumption of 55           the liquid is agitated by shaking the container in horizontal
 the at least semi-frozen slurry.                                               and/or vertical directions and/or rotation of the container
    21. The method as claimed in claim 15, Wherein: the con                     about its axes; or by squeezing the at least one Wall of the
 tainer has at least one side Wall of resiliently deformable                    container and or cover, the at least one Wall of the con
 material, so arranged that squeezing of the at least one Wall                  tainer and/or cover being resiliently deformable, in to
 into contact With the at least one freezing device Will release 60            contact With the at least one freezing device;
 ice crystals therefrom.                                                     and Where the shaking and/ or rotation and/ or squeezing is
   22. The method as claimed in claim 21, Wherein:                             effected optionally for 30-120 seconds for a domestic
   the at least one freezing device is of substantially cylindri                apparatus.
      cal shape, With a cylindrical side Wall interconnecting a
     pair of end Walls, so arranged that the cylindrical side
